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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 SEAN DeCRANE,                                 )       CASE NO. 1:16CV2647
                                               )
                        Plaintiff,             )      JUDGE CHRISTOPHER A. BOYKO
                                               )
                vs.                            )      OPINION AND ORDER
                                               )
 EDWARD ECKART, et al.,                        )
                                               )
                        Defendants.            )


 CHRISTOPHER A. BOYKO, J.:

        This matter comes before the Court upon the Motion (ECF DKT #15) of Plaintiff Sean

 DeCrane for Leave to File Second Amended Complaint. For the following reasons, the

 Motion is granted.

                                I. FACTUAL BACKGROUND

        Plaintiff is a retired City of Cleveland Division of Fire Battalion Chief. He alleges

 that Assistant Safety Director Edward Eckart, along with James Votypka and Christopher

 Chumita, repeatedly retaliated against him based on the mistaken belief that Plaintiff

 disclosed to a reporter that a previous fire chief lacked the required continuing education to

 maintain his professional certification. Allegedly, the retaliation included: repeated failures

 to promote him; seizing the Fire Training Academy’s records while Plaintiff served as

 Director of Training; making false allegations against him about deficient record-keeping;

 trying to have him criminally prosecuted; concocting false administrative charges against

 him; delaying a state audit that would have cleared him; relaying false information to the

 media; ignoring his emails and refusing to meet with him; trying to outsource training
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 activities; and trying to damage his reputation and career.

        On October 31, 2016, Plaintiff filed a Complaint against the City, Eckart, Votypka and

 Chumita for: (1) First and Fourteenth Amendment Retaliation under § 1983; (2) False Light

 Invasion of Privacy (Eckart); and (3) a state-law claim for Intimidation under R.C. § 2921.03

 (Eckart, Votypka and Chumita).

        After the City dismissed the pending administrative charges, Plaintiff filed an

 Amended and Supplemental Complaint updating his allegations on January 31, 2017.

 Defendants answered.

        On April 21, 2017, the individual Defendants moved for Partial Judgment on the

 Pleadings, arguing that the Intimidation claim against them cannot be maintained because

 Plaintiff did not plead that Defendants were charged with or convicted of the state-law crime

 of Intimidation. (ECF DKT #13).

        Plaintiff has opposed the Motion for Partial Judgment on the Pleadings and has

 moved, on May 18, 2017, for Leave to File a Second Amended Complaint. (ECF DKT #15).

 Plaintiff seeks to add a claim for Civil Liability for Criminal Acts under R.C. § 2307.60.

        Defendants oppose the Motion for Leave to Amend on the basis of futility, i.e., Eckart,

 Votypka, and Chumita have not been charged with, plead guilty to, or been convicted of any

 criminal offense related to this matter. They argue that absent such evidence, a party cannot

 maintain a claim under Ohio Rev. Code § 2307.60.




                               II. LAW AND ANALYSIS


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 Motion to Amend

        Fed.R.Civ.P. 15(a)(2) reads in part, “The court should freely give leave [to amend]

 when justice so requires.” However, this liberal amendment policy is not without limits. The

 Sixth Circuit has observed: “A motion to amend a complaint should be denied if the

 amendment is brought in bad faith, for dilatory purposes, results in undue delay or prejudice

 to the opposing party, or would be futile.” Colvin v. Caruso, 605 F.3d 282, 294 (6th

 Cir.2010) (citing Crawford v. Roane, 53 F.3d 750, 753 (6th Cir.1995)).

        Delay, by itself, “does not justify denial of leave to amend.” Morse v. McWhorter,

 290 F.3d 800 (6th Cir.2002). In addition, when discovery is in the early stages, any prejudice

 from entertaining an amended pleading is minimal. Addressing the contention that an

 amendment might necessitate another dispositive motion, the Sixth Circuit also noted that

 “another round of motion practice ... does not rise to the level of prejudice that would warrant

 denial of leave to amend.” Morse, 290 F.3d at 801.

         “In determining what constitutes prejudice, the court considers whether the assertion

 of the new claim or defense would: require the opponent to expend significant additional

 resources to conduct discovery and prepare for trial; significantly delay the resolution of the

 dispute; or prevent the plaintiff from bringing a timely action in another jurisdiction.” Phelps

 v. McClellan, 30 F.3d 658, 663 (6th Cir.1994).

        “A proposed amendment is futile if the amendment could not withstand a Rule

 12(b)(6) motion to dismiss.” Cicchini v. Blackwell, 127 F.App’x 187, 190 (6th Cir. 2005)

 citing Ziegler v. IBP Hog Market, Inc., 249 F.3d 509, 518 (6th Cir. 2001).

        R.C. § 2307.60 provides:


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         (A)(1) Anyone injured in person or property by a criminal act has, and may
         recover full damages in, a civil action unless specifically excepted by law, may
         recover the costs of maintaining the civil action and attorney’s fees if
         authorized by any provision of the Rules of Civil Procedure or another section
         of the Revised Code or under the common law of this state, and may recover
         punitive or exemplary damages if authorized by section 2315.21 or another
         section of the Revised Code.

         Plaintiff’s proposed Fourth Claim alleges that “Defendants Eckart, Votypka, and

 Chumita committed criminal acts, including but not limited to intimidation in violation of

 Ohio Rev. Code § 2921.03(A), which constitutes a third-degree felony under Ohio Rev. Code

 § 2921.03(B); “that Plaintiff “suffered injuries and losses to his person and property;” and that

 “Defendants Eckart, Votypka, and Chumita are liable to [Plaintiff] for reasonable attorneys’

 fees, court costs, and other expenses incurred in maintaining this civil action.” (ECF DKT

 #15-1). This claim and the preceding four hundred paragraphs encompassing extensive

 factual recitations satisfy Rule 15's liberal amendment policy.

         In the instant situation, the Court believes that all of the key factors to be considered

 weigh in favor of allowing Plaintiff to amend. Moreover, the Court acknowledges the well-

 settled principle that “federal courts have a strong preference for trials on the merits.” Clark

 v. Johnston, 413 F.App’x 804, 819 (6th Cir. 2011). Defendants’ own briefing contends that

 Plaintiff lacks evidence that the individual Defendants were ever charged or convicted of the

 criminal offense of Intimidation. Thus, the dispute over the viability of Plaintiff’s claim is

 more appropriately addressed through dispositive motion practice and not at the pleading

 stage of the litigation.



                                    III. CONCLUSION


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        Therefore, the Motion (ECF DKT #15) of Plaintiff Sean DeCrane for Leave to File

 Second Amended Complaint is granted. Plaintiff shall file his amended pleading on or before

 March 1, 2018. In light of this ruling, the Motion (ECF DKT #13) of Defendants for Partial

 Judgment on the Pleadings is denied as moot.

        IT IS SO ORDERED.

                                     s/ Christopher A. Boyko
                                     CHRISTOPHER A. BOYKO
                                     United States District Judge
 Dated: February 16, 2018




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